         Case 1:21-mj-00166-GMH Document 1-1 Filed 01/26/21 Page 1 of 6




                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and has been
so employed since January 2016. Currently, I am tasked with investigating criminal activity in and
around the Capitol grounds that occurred on January 6, 2021. As a Special Agent with the FBI, I
am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
         Case 1:21-mj-00166-GMH Document 1-1 Filed 01/26/21 Page 2 of 6




violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

       Your affiant has reviewed video from January 6, 2021, provided to the FBI by the United
States Capitol Police. Based on my review, an individual later identified as MICHAEL
STEPAKOFF (Stepakoff) can be seen on CCTV video entering the United States Capitol Building
at approximately 3:00 PM on January 6, 2021 (see Figure 1 below). The video begins at 2:48:39
PM on January 6, 2021, and approximately 11:53 into the video, Stepakoff can be seen entering
through the door under the “EXIT” sign.




                                                 Figure 1

       While inside the U.S. Capitol, Stepakoff can been seen wearing a dark colored hat with
white lettering on the front, a green colored jacket, blue jeans, and brown boots (see Figure 2
below).
        Case 1:21-mj-00166-GMH Document 1-1 Filed 01/26/21 Page 3 of 6




                                                Figure 2

       During the video, and while inside the U.S. Capitol Building, Stepakoff can be seen taking
approximately eight photographs using his cellular phone. When interviewed by the FBI, Witness
1, who has known Stepakoff for approximately twenty years and who is familiar with what
Stepakoff looks like, identified the individual highlighted in Figure 2 above as Stepakoff.

        On January 6, 2021, multiple photographs were posted to a Facebook account with the
username “Michael Stepakoff” showing an individual identified as Stepakoff outside the United
States Capitol Building (see Figure 3 below). These photographs include a “selfie” styled
photograph of Stepakoff in a large group of people outside the U.S Capitol Building. The clothing
and hat in the photograph in Figure 3 is consistent with the clothing and hat observed in the CCTV
footage captured in Figure 1 and Figure 2, above. Other photographs posted to the same Facebook
account show outward facing photographs of a large group of people near doors and windows of
the U.S Capitol Building.
        Case 1:21-mj-00166-GMH Document 1-1 Filed 01/26/21 Page 4 of 6




                                               Figure 3

        Also on January 6, 2021, a post to the Facebook account in the name of “T*** S********”
stated “Update on Michael y’all…please continue to prayers for his protection and to be safe. He
texted me privately and said he is okay but it’s very dangerous where he is- He was inside the
Capital Building…” (see Figure 4 below). Open source records indicate that T.S. is the spouse of
Michael Stepakoff.
         Case 1:21-mj-00166-GMH Document 1-1 Filed 01/26/21 Page 5 of 6




                                                 Figure 4

       When interviewed by the FBI, Witness 2 stated that in the evening of January 6, 2021,
Witness 2 spoke to Stepakoff on the telephone. During the call, Stepakoff told Witness 2 that he,
Stepakoff, had entered the U.S Capitol building through the main doors earlier in the day.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Michael Stepakoff violated 18 U.S.C. §§ 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes
or disrupts the orderly conduct of Government business or official functions; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Michael Stepakoff
violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly
(D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at
        Case 1:21-mj-00166-GMH Document 1-1 Filed 01/26/21 Page 6 of 6




any place in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or
disturb the orderly conduct of a session of Congress or either House of Congress, or the orderly
conduct in that building of a hearing before, or any deliberations of, a committee of Congress or
either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                    _________________________________
                                                    Brandon C. Merriman
                                                    Special Agent
                                                    Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 26th day of January 2021.                                    G. Michael Harvey
                                                                       2021.01.26 15:24:13
                                                                       -05'00'
                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE
